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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                  Plaintiff,
        vs.                              Case No. 11-40044-11-RDR

ARNULFO PRADO-CERVANTEZ,
et al.,

                  Defendants.


                                 O R D E R

        This case is before the court upon defendant Prado-Cervantez’

motion to continue the trial currently set for September 18, 2012.

There has been no opposition filed to this motion.

        This is a complex case involving a large volume of discovery.

There are fifteen defendants who have made appearances in this

case.     There are two defendants who share the September 18, 2012

trial setting with defendant.       These three defendants are detained

pending trial and are not a threat to the community.

        Defense counsel was appointed to represent defendant on June

15, 2012.     Defendant Prado-Cervantez is Spanish-speaking, and his

counsel is not.     His counsel has his office some hours away from

Prado-Cervantez’ place of detention.          Because of the great amount

of discovery which requires review, defense counsel asks for a 60-

day continuance of the trial setting.

        The court has reviewed the Speedy Trial Act factors which must

be considered in previous orders.             E.g., Doc. No. 59.         In the
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court’s opinion, the amount of discovery in this matter and the

other factors which extend the time needed to prepare a defense and

communicate with the defendant, necessitate a continuance so that

counsel may adequately represent the defendant.             Accordingly, the

court shall grant the motion for continuance and set the trial in

this case as to defendants Quesada, Verasa-Barron, and Prado-

Cervantez for November 13, 2012 at 9:30 a.m.

     The   extension   of     time   granted   in   this   order   is   in    the

interests of justice and shall be considered excludable time for

the purposes of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).

     IT IS SO ORDERED.

     Dated this 7th day of August, 2012 at Topeka, Kansas.


                                     s/Richard D. Rogers
                                     United States District Judge




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